
891 So.2d 687 (2005)
ASTORIA ENTERTAINMENT, INC.
v.
Edward J. DEBARTOLO, Jr. et al.
No. 2004-CC-2472.
Supreme Court of Louisiana.
January 7, 2005.
Granted. The Noerr-Pennington doctrine provides an affirmative defense. Bayou Fleet v. Alexander, 234 F.3d 852 (5th Cir.2000), and Acoustic Systems, Inc. v. Wenger Corp., 207 F.3d 287 (5th Cir.2000). Affirmative defenses must be raised in the answer. La.Code Civ. P. art. 1003 and art. 1005. The court of appeal was premature in reaching this issue in the context of an exception of no cause of action. Accordingly, the judgment of the court of appeal is vacated and the judgment of the district court denying the exception of no cause of action is reinstated. *688 Case remained to the district court for further proceedings.
